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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-cv-22538-ALTMAN/Reid

  PIERCE ROBERTSON, et al.,

          Plaintiffs,

  v.

  MARK CUBAN, et al.,

        Defendants.
  _______________________________/

                               ORDER SCHEDULING MEDIATION

          The parties have filed a Joint Notice of Mediator Selection [ECF No. 197]. Mediation in this

  case shall be held before Howard Tescher on May 14-15, 2024, at 10:00 AM at 100 SE 2nd St., Suite

  2800, Miami, FL 33131, or by Zoom.

          Within three days of the mediation, the parties shall file a joint mediation report. The report

  shall indicate whether the case has settled (in full or in part), whether it was adjourned, or whether the

  mediator declared an impasse. Failure to comply with this Order may result in sanctions, including

  dismissal without prejudice and without further notice.

          DONE AND ORDERED in the Southern District of Florida on November 29, 2023.




                                                             _________________________________
                                                             ROY K. ALTMAN
                                                             UNITED STATES DISTRICT JUDGE
  cc:     counsel of record
